     Case 3:13-cr-00001-JPJ Document 1 Filed 01/09/13 Page 1 of 2 Pageid#: 1
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TH O M A S EARL FA U LLS,SR.
                                             Inviolation()f: 18U.S.C.j 1201
                                                             18U.S.C.j2261
                                                             18U.S.C.j924/)


Thegrandjurychargesthat:
                                      CO UN T O N E

1.      Between on oraboutAugust21,2012 andAugust23,2012,in the W estem Judicial

DistrictofVirginiaand elsewhere,thedefendant,THOM AS EARL FAULLS,SR.did willfully

and unlawfully kidnap,abduct,seize,confine,inveigle,decoy,and can'y away,L.F.and hold her

forransom ,reward orotherwise,in ordertoforcehertoreconciletheirrelationship and toforce

herto have sexualintercoursewith him ,and did travelin interstate comm ercefrom Louisa

County,Virginiato GreenbrierCounty,W estVirginia,and did useam eans,facility,and

instnzmentality ofinterstatecom merce,thatishispickup truck,interstatehighways,and hiscell

phonein furtheranceofthecom mission ofthe offense.

2.      Allinviolation of18U.S.C.j1201(a)(1).




USAO 2012R00718
     Case 3:13-cr-00001-JPJ Document 1 Filed 01/09/13 Page 2 of 2 Pageid#: 2




                                       C O UN T TW O

3.        Betw een on oraboutAugust21,2012 and August23,2012,in the W estern Judicial

DistrictofVirginiaand elsewhere,thedefendant,THOM AS EARL FAULLS,SR.did causehis

spouse,L.F.,to travelin interstate com m erce by force,coercion,duress and fraud,and in the

courseofsuch traveland to facilitate such conductandtravel,did intentionallycomm itacrime

ofviolenceagainstL.F.,to wit;kidnapping and aggravated sexualabuse,and useda dangerous

weapon- ashotgun--duringtheoffense.

          AllinviolationofTitle 18,UnitedStatesCode,Section 2261(a)(2)and(b)(4).


                                      C O U NT TH REE

5.        Betw een on oraboutA ugust21,2012 and August23,2012,in the W estern Judicial

DistrictofVirginiaand elsewhere,thedefendant,THOM A S EARL FAULLS,SR.,did

knowinglypossessa firearm thatis,ashotgun in the furtheranceofa crim eofviolenceforwhich

hemay beprosecuted in a courtofthe United States,thatis,kidnapping in violation ofTitle 18,

UnitedStatedCode,Section 12O1(a)(1),mschargedinCountOne.
6.        AllinviolationofTitle 18,UnitedStatesCode,Section 924(c).


A TRU E BILL this    -
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